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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA



TODD NOWICKI, ET AL.                                                CIVIL ACTION

VERSUS                                                              NO. 14-1890

LOUISIANA MEDICAL MUTUAL                                            SECTION AR@
INSURANCE CO., ET AL.


                                        ORDER

      The Court having been advised that settlement of this matter is pending subject

to approval by the Medical Review Board.

      Accordingly,

      IT IS ORDERED that this matter is hereby administratively closed with the

right of any party to reopen the action if settlement is not consummated.


                  New Orleans, Louisiana this 3rd day of March, 2016.



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                                SARAH S. VANCE
                         UNITED STATES DISTRICT JUDGE
